UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT KNOXVILLE
UNITED STATES OF AMERICA )
) No. 3:21-CR-127
v. )
) JUDGES CRYTZER/POPLIN
ROBERTA LYNNE WEBB ALLEN, )

PLEA AGREEMENT
The United States of America, by the United States Attorney for the Eastern District of
Tennessee, and the defendant, ROBERTA LYNN WEBB ALLEN , and the defendant’s counsel,
have agreed upon the following:
1. The defendant will plead guilty to the following counts in the indictment:
a. Count 1. Conspiracy to obtain property not due to an official and her office, under
color of official right, in violation of Title 18, United States Code, Section 1951.
2. In consideration of the defendant’s guilty plea, the United States agrees to move the Court
at the time of sentencing to dismiss the remaining counts against the defendant in this indictment.
3. The punishment for this offense is as follows:

a. Count 1: A maximum term of up to 20 years of imprisonment, up to a $250,000
fine, up to 3 years of supervised release, any applicable forfeiture, and a $100
special assessment.

4. The defendant has read the indictment, discussed the charges and possible defenses with
defense counsel, and understands the crime(s) charged. Specifically, the elements of the offense(s)
are as follows:

Count 1: (1) First, that the defendant was a public official; (2) That the defendant conspired
to obtain, accept, take, or receive property, that the defendant was not lawfully
entitled to, from another person with that person’s consent; (3) that the defendant
knew the property was being obtained, accepted, taken, or received in exchange for

Case 3:21-cr-00127-KAC-DCP Document 29 Filed 02/25/22 Page lof9 PagelD #: 82
an official act; (4) that as a result, interstate commerce was affected in any way or
degree.

5. In support of the defendant’s guilty plea, the defendant agrees and stipulates to the
following facts, which satisfy the offense elements. These are the facts submitted for purposes of
the defendant’s guilty plea. They do not necessarily constitute all of the facts in the case. Other
facts may be relevant to sentencing. Both the defendant and the United States retain the right to
present additional facts to the Court to ensure a fair and appropriate sentence in this case.

FACTS
a. During the charged conspiracy period, both Brandy M. Thornton (“THORNTON”) and the
defendant were public officials, employed in the Sevier County Clerk’s office, and empowered to
register and title vehicles with the State of Tennessee. During the charged conspiracy period, the
defendant agreed with THORNTON to accept, receive, and obtain cash payments from another
individual, with that individual’s consent. In exchange the defendant used the defendant’s position
as a public official to title and register vehicles in the State of Tennessee, which was an official
act. Specifically, during the charged conspiracy period, Juan Lopez Gallardo (““GALLARDO”)
and others paid THORNTON and the defendant cash payments in exchange for the defendant
registering and titling motor vehicles with the State of Tennessee. In one example, on or about
November 30, 2020 and December 1, 2020, GALLARDO and the defendant were intercepted over
a wiretap having a conversation about registering and/or titling motor vehicles in the State of
Tennessee. During these calls, the defendant informed GALLARDO that THORNTON was not
working, and that the defendant herself could deliver the requested car titles and/or registrations
to GALLARDO in a parking lot of a restaurant in Sevier County, Tennessee. After the defendant
and GALLARDO finished their conversation, GALLARDO was intercepted instructing a

subordinate to pay the defendant $100.

i)

Case 3:21-cr-00127-KAC-DCP Document 29 Filed 02/25/22 Page 2of9 PagelD #: 83
b. On multiple occasions during the charged conspiracy period, THORNTON asked the
defendant to register and title vehicles for GALLARDO, which the defendant then did. In
exchange for titling and registering vehicles in the State of Tennessee, the defendant accepted and
obtained cash payments from GALLARDO and payments made to THORNTON from
GALLARDO. Unknown to the defendant, many of the vehicles that GALLARDO sought and
received official registrations and titles for from THORNTON and the defendant, were stolen from
owners in Florida and other states, and transported across state lines into the State of Tennessee,
thus affecting interstate and foreign commerce. Many of the cars registered and titled by the
defendant in exchange for cash payments were manufactured in states other than the State of
Tennessee. Moreover, in order to title and register vehicles in the State of Tennessee, the defendant
entered motor vehicle information into computer systems that sent and transmitted that information
to databases, including a national database, from the State of Tennessee into and through other
states to computer servers located in other states.
ci In accordance with Fed. R. Crim. P. 11(c)(1)(B), the parties agree and stipulate that, for
sentencing purposes, under U.S.S.G. §§ 2C1.1(a)(1) and 2C1.1(b)(1), the defendant’s base
offense level is 16. In accordance with Fed. R. Crim. P. 11(c)(1)(B), the parties agree and stipulate
that, for sentencing purposes, the defendant was a minimal participant under U.S.S.G. §§ 3B1.2(a).

6. The defendant is pleading guilty because the defendant is in fact guilty. The defendant
understands that, by pleading guilty, the defendant is giving up several rights, including:

a) the right to plead not guilty;
b) the right to a speedy and public trial by jury;

c) the right to assistance of counsel at trial;

Case 3:21-cr-00127-KAC-DCP Document 29 Filed 02/25/22 Page 3of9 PagelD #: 84
d) the right to be presumed innocent and to have the burden of proof placed

on the United States to prove the defendant guilty beyond a reasonable

doubt;
e) the right to confront and cross-examine witnesses against the defendant;
f) the right to testify on one’s own behalf, to present evidence in opposition

to the charges, and to compel the attendance of witnesses; and
g) the right not to testify and to have that choice not used against the
defendant.
7. The parties agree that the appropriate disposition of this case would be the following as to
each count:
a) The Court may impose any lawful term(s) of imprisonment, any lawful

fine(s), and any lawful term(s) of supervised release up to the statutory

maximum(s);
b) The Court will impose special assessment fees as required by law; and
c) The Court may order forfeiture as applicable and restitution as appropriate.

No promises have been made by any representative of the United States to the defendant as to what
the sentence will be in this case. Any estimates or predictions made to the defendant by defense
counsel or any other person regarding any potential sentence in this case are not binding on the
Court, and may not be used as a basis to rescind this plea agreement or withdraw the defendant’s
guilty plea(s). The defendant understands that the sentence in this case will be determined by the
Court after it receives the presentence investigation report from the United States Probation Office
and any information presented by the parties. The defendant acknowledges that the sentencing

determination will be based upon the entire scope of the defendant’s criminal conduct, the

Case 3:21-cr-00127-KAC-DCP Document 29 Filed 02/25/22 Page 4of9 PagelD #: 85

 
defendant’s criminal history, and pursuant to other factors and guidelines as set forth in the
Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553.

8. Given the defendant’s agreement to plead guilty, the United States will not oppose
a two-level reduction for acceptance of responsibility under the provisions of Section 3E1 .L(a) of
the Sentencing Guidelines. Further, if the defendant’s offense level is 16 or greater, and the
defendant is awarded the two-level reduction pursuant to Section 3E1 .1(a), the United States
agrees to move, at or before the time of sentencing, the Court to decrease the offense level by one
additional level pursuant to Section 3E1.1(b) of the Sentencing Guidelines. Should the defendant
engage in any conduct or make any statements that are inconsistent with accepting responsibility
for the defendant’s offense(s), including violations of conditions of release or the commission of
any additional offense(s) prior to sentencing, the United States will be free to decline to make such
motion, to withdraw that motion if already made, and to recommend to the Court that the defendant
not receive any reduction for acceptance of responsibility under Section 3E1.1 of the Sentencing
Guidelines.

9. The defendant agrees to pay the special assessment in this case prior to sentencing.

10. The defendant agrees to pay all fines and restitution imposed by the Court to the
Clerk of Court. The defendant also agrees that the full fine and/or restitution amount(s) shall be
considered due and payable immediately. If the defendant cannot pay the full amount immediately
and is placed in custody or under the supervision of the Probation Office at any time, the defendant
agrees that the Bureau of Prisons and the Probation Office will have the authority to establish
payment schedules to ensure payment of the fine and/or restitution. The defendant further agrees
to cooperate fully in efforts to collect any financial obligation imposed by the Court by set-off of

federal payments, execution on non-exempt property, and any other means the United States deems

Case 3:21-cr-00127-KAC-DCP Document 29 Filed 02/25/22 Page5of9 PagelD #: 86
appropriate. The defendant and counsel also agree that the defendant may be contacted post-
judgment regarding the collection of any financial obligation imposed by the Court without
notifying the defendant’s counsel and outside the presence of the defendant’s counsel. In order to
facilitate the collection of financial obligations to be imposed with this prosecution, the defendant
agrees to disclose fully all assets in which the defendant has any interest or over which the
defendant exercises control, directly or indirectly, including those held by a spouse, nominee, or
other third party. In furtherance of this agreement, the defendant additionally agrees to the
following specific terms and conditions:

a) If so requested by the United States, the defendant will promptly submit a
completed financial statement to the U.S. Attorney’s Office, in a form it provides and as it directs.
The defendant promises that such financial statement and disclosures will be complete, accurate,
and truthful.

b) The defendant expressly authorizes the U.S. Attorney’s Office to obtain a
credit report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court.

c) If so requested by the United States, the defendant will promptly execute
authorizations on forms provided by the U.S. Attorney’s Office to permit the U.S. Attorney’s
Office to obtain financial and tax records of the defendant.

11. The defendant acknowledges that the principal benefits to the United States of a
plea agreement include the conservation of limited government resources and bringing a certain
end to the case. Accordingly, in consideration of the concessions made by the United States in

this agreement and as a further demonstration of the defendant’s acceptance of responsibility for

Case 3:21-cr-00127-KAC-DCP Document 29 Filed 02/25/22 Page 6of9 PagelD #: 87
the offense(s) committed, the defendant voluntarily, knowingly, and intentionally agrees to the
following:

a. The defendant will not file a direct appeal of the defendant’s conviction(s) or
sentence with one exception: The defendant retains the right to appeal a sentence imposed
above the sentencing guideline range determined by the Court or above any mandatory
minimum sentence deemed applicable by the Court, whichever is greater. The defendant
also waives the right to appeal the Court’s determination as to whether the defendant’s
sentence will be consecutive or partially concurrent to any other sentence.

b. The defendant will not file any motions or pleadings pursuant to 28 U.S.C. § 2255

or otherwise collaterally attack the defendant’s conviction(s) or sentence, with two

exceptions: The defendant retains the right to file a § 2255 motion as to (i) prosecutorial
misconduct and (ii) ineffective assistance of counsel.

c. The defendant will not, whether directly or by a representative, request or receive

from any department or agency of the United States any records pertaining to the

investigation or prosecution of this case, including, without limitation, any records that
may be sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the Privacy

Act of 1974, 5 U.S.C. Section 552a.

12. This plea agreement becomes effective once it is signed by the parties and is not
contingent on the defendant’s entry of a guilty plea. If the United States violates the terms of this
plea agreement, the defendant will have the right to withdraw from this agreement. If the defendant
violates the terms of this plea agreement in any way (including but not limited to failing to enter
guilty plea(s) as agreed herein, moving to withdraw guilty plea(s) after entry, or by violating any

court order or any local, state or federal law pending the resolution of this case), then the United

Case 3:21-cr-00127-KAC-DCP Document 29 Filed 02/25/22 Page 7of9 PagelD #: 88
States will have the right to void any or all parts of the agreement and may also enforce whatever
parts of the agreement it chooses. In addition, the United States may prosecute the defendant for
any and all federal crimes that the defendant committed related to this case, including any charges
that were dismissed and any other charges which the United States agreed not to pursue. The
defendant expressly waives any statute of limitations defense and any constitutional or speedy trial
or double jeopardy defense to such a prosecution. The defendant also understands that a violation
of this plea agreement by the defendant does not entitle the defendant to withdraw the defendant’s
guilty plea(s) in this case.

13. The United States will file a supplement in this case, as required in every case by
the Local Rules of the United States District Court for the Eastern District of Tennessee, even
though there may or may not be any additional terms. If additional terms are included in the

supplement, they are hereby fully incorporated herein.

Case 3:21-cr-00127-KAC-DCP Document 29 Filed 02/25/22 Page 8of9 PagelD #: 89
14. This plea agreement and supplement constitute the full and complete agreement

and understanding between the parties concerning the defendant’s guilty plea to the above-

referenced charge(s), and there are no other agreements, promises, undertakings, or understandings

between the defendant and the United States. The parties understand and agree that the terms of

this plea agreement can be modified only in writing signed by all of the parties and that any and

all other promises, representations, and statements whether made before, contemporaneous with,

or after this agreement, are null and void.

/
< / LY /2 OV

Date / /

 

{

A-th- Q0E2

Date

 

Date

FRANCIS M. HAMILTON III

 

UNITED STATES ATTORNEY
By: AC
/ KEVIN QUENC

Assjstant United States Attorney

ohertal row W) O lor

etd LYNNH WEBB ALLEN

    

efendan, —T)

{
fo

GREGORY ISAACS
Attorney for the Defendant

Case 3:21-cr-00127-KAC-DCP Document 29 Filed 02/25/22 Page9of9 PagelD #: 90
